Case 1:96-cr-10252-RWZ Document 559 Filed 08/27/18 Page 1 of 1

UN|TED STATES D|STR|CT COURT
D|STR|CT OF N|ASSACHUSETTS

CR\|V||NAL NO. 96-10252-RWZ

JOHN BARTOLON|EO

V.

UN|TED STATES OF AMER|CA

M)RA§DUM OF DEC|SlON AND OBLB
August 27, 2018

ZOBEL, S.D.J.

The judgment issued on June 12, 2018, is amended to add the following:

Pursuant to Ru|e 11(a) of the Ru|es Governing Section 2255 Proceedings for the
United States District Courts, l grant a certificate of appealability (“COA") because
Bartolomeo made a substantial showing of the denial of a constitutional right, as
required by 28 U.S.C. § 2253(c)(2). “When [a] district court denies a habeas petition on
procedural grounds without reaching the prisoner’s underlying constitutional claim, a
COA should issue when the prisoner shows, at |east, that jurists of reason would find it
debatable whether the petition states a valid claim of the denial of a constitutional right
and thatjurists of reason would find it debatable whether the district court was correct in
its procedural ruling." Slack v. McDaniel, 529 U.S. 473l 484 (2000). Bartolomeo has

made this showing.

Z\._a(:§iz? 2013> ` »WD z@»€
ATE RYA W. ZOBEL

SEN|OR UN|TED STATES D|STR|CT JUDGE

 

